                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NEW MEXICO

     In re:

     MBF INSPECTION SERVICES INC.,

                        Debtor,                               Case No. 18-11579

      MOTION SEEKING ESTIMATION OF CLAIMS AND OBJECTING TO CLAIMS
      FILED BY MATTHEW HELLAND ON BEHALF OF THOMAS GANCI AND ALL
        PLAINTIFF'S IN THEUNITED STATES DISTRICT COURT CASE FOR THE
     SOUTHERN DISTRICT OF OHIO, CAUSE NO. 2:15-CV-02959, WHICH IS CLAIM
                                  NUMBER 9.

          COMES NOW, MBF Debtor-in-Possession in the above-captioned proceeding and

objects to the claims listed on Exhibit B hereto and seeks an Order requiring verification from

these claimants of such claims and as reason therefore states:

1.        On June 22, 2018, the Debtor in Possession filed a Chapter 11 petition.

2.        The Debtor-in-Possession has filed the Plan of Reorganization which contemplates 100%

payment of its claims and/or distribution to unsecured creditors after payment of priority claims.

3.        Pursuant to Section 1111 (a)(m) of the Bankruptcy Code and Bankruptcy Rule

3003(C)(2), a creditor need not file a proof of claim that the Debtor listed as uncontested, etc.

Such claims which are not scheduled as disputed, contingent, or unliquidated are generally

allowed. In order to assure that creditors who are not entitled to payment do not receive payment

under the Plan Section 1111(a)(m) of the Bankruptcy Code provides they may file a proof of

claim or interest under Section 501 of the Code. The Debtor reserves the right to object to any

claim or seek reconsideration of the allowance of any claim, if such claim has been filed, or is

deemed filed pursuant to Section 1111(a) of the Code, the Debtor may file objections to a claim

which is deemed filed pursuant to Section 1111(a) of the Code in order to verify the accuracy of




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the amount scheduled and if this occurs any such objection will require the claim holder submit

proof satisfactory to the court as to the amount of its claim.

4.      The creditor listed on Exhibit A hereto allege he has claims which were scheduled as

disputed, contingent and unliquidated, and did file a proof of claim.

5.      The creditors, by filing their claim herein shown on Exhibit A submitted to the

jurisdiction of this Court.

6.      Even if the Debtor has liability to this claimant shown on Exhibit A, which liability the

Debtor denies, at least in relevant part, the amount claimed by the claimants on Exhibit A are

excessive and incorrect.

7.      These claims are unliquidated under 11 USC Section 502(C)(1).

8.      The fixing or liquidation of these claims would unduly delay the administration of this

Chapter 11 estate.

9.      There is need for the Bankruptcy Court to estimate these claims in order to facilitate

administration of this Chapter 11 case including, without limitation, in order to allow the debtor

to establish the feasibility of its reorganization plan, hold a confirmation hearing, handle voting,

allowance and distribution under the plan.

10.     The Debtor requests the estimation hearing be set sufficiently before confirmation for

lawful ruling to be entered prior to confirmation.

11.     All claims originally in the Ganci Federal Court case, 2:15-cv-02959, shall be defended

under the conditions set by Judge Thuma and accepted by the Debtor. There are incorporated

herein and fully set forth the Debtor’s answer and the briefs, responses and replies to both

Summary Judgment Motions as required by the accepted conditions as a defense therein.




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12.     11 USC Section 502(C) provides for the estimation of any claim that is contingent or

unliquidated where the fixing or liquidation of the claim would unduly delay the closing of the

case or to any right to an equitable remedy for breach of performance if such breach gives rise to

the right for payment. This motion is based on Subsection 1 of 502 ( c ) of the Bankruptcy

Code.

13.     Pursuant to the order of this Court Dkt. No. 156 and on Dkt. 1319 and the supporting

opinion, Dkt. No. 152, entered on December 18th, 2018, the stay was not lifted as to the

claimants in Exhibit A had filed class claims, which are disputed.

14.     To the extent that a claim is allowed in a claims estimating procedure, it is estimated for

purposes of allowance under section 11 USC 502(C) (1), as well as voting and objections. The

estate of this debtor is estimated to be fully administered on or about the end of June 2019 and

the administration of this case would be unduly delayed unless the amount for said claims are

estimated for the purposes of allowance under 11 USC Section 502(C) for the following reasons:

           a. The holder of such claim has appealed to the District Court the order not to lift the

               stay. The stay lift proceeding could go on through that District court and other

               appellate courts for some years. There is a multilevel appeal process.

           b. There are defenses and counterclaims to the claimant's cause of action which

               require discovery and which require substantial testimony and presentation of

               evidence and a trial of the issues would prevent the closing of the estate for a long

               period of time. These claims have been pending for years, as many as three in

               some instances. In this case because the age of Debtor's management and its

               liquidation value as opposed to going concern value, the only practical way to

               deal with obtaining the maximum value is to process this case within the three (3)



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               years which the Debtor believes it can hold this business together under the

               remains of current management.

           c. The Debtors have already participated in one substantial and expensive mediation

               in regard to this claim and mediation failed.

           d. The opposing party has stated that it feels further mediation would not be useful.

15.    The Debtor seeks estimation and would object to the claim of the Ganci alleged class

with the objection on file the vote of that claimant on a plan will not be counted unless the court

estimates its claim for purposes of voting as well similarly estimation is necessary for the court

to consider the feasibility under 11 USC Section 11209(A)(1) and claims estimation motion is

necessary for the purposes of expediting the confirmation process and ensuring that there is a

vote on the plan and that objections to confirmation receive due consideration. All claims should

be estimated at no more than the amount shown by the Debtor on Exhibit B which is attached,

and also utilized as an Exhibit in the disclosure statement.

16.    The Court will need to hold a hearing for the purposes of estimating the claim for voting

purposes and objections to confirmation and so the claim should be fully estimated for purposes

of allowance as well a motion so as not to delay distribution. Other administrative costs will

rise. The confirmation of the Plan which has or will be filed will likely be objected to on behalf

of which claim had not been allowed as a class claim on all counts. See claims Dkt. No. 8 & 9

been filed. The claimant has not filed the necessary notice to have the Federal claim treated as a

class claim and the class filing on the Federal claim is not appropriate.

       WHEREFORE the Debtor respectfully requests that this claim should be estimated for

the purposes of voting and allowance in the amounts as shown on Exhibit B, and for such other

and further relief as the Court deems just and proper.



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                                                     Respectfully submitted,


                                                     B.L.F., LLC P.C.
                                                     /s/ Jennie Deden Behles
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                                   CERTIFICATE OF SERVICE

        I hereby certify that service of the foregoing was made on March 25th, 2019 via the notice
    transmission facilities of the Bankruptcy Court's CM/ECF system on the following parties:


    By:/s/ filed electronically
    Jennie Deden Behles




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